                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION - DETROIT

In Re:

RL MANAGEMENT GROUP, LLC,                                          Case No. 13-51849
                                                                   Chapter 11
         Debtor                                                    Hon. Walter Shapero

__________________________________________________/

RL MANAGEMENT GROUP, LLC,

         Plaintiff                                                 Adv. Pro. No. 13-04843

v.

JACKSON COUNTY TREASURER KAREN COFFMAN,

      Defendant
___________________________________________________/

     OPINION GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

                                         INTRODUCTION

         Due to a tax delinquency, the Jackson County Treasurer foreclosed prepetition upon three

parcels of real estate owned by the Debtor. The Debtor subsequently filed this adversary

proceeding to avoid that foreclosure as a preferential transfer pursuant to 11 U.S.C. § 547(b).

The Treasurer filed the present motion for summary judgment, which the Court now grants.


                                          BACKGROUND

         RL Management Group, LLC (“RL”) owned the three subject parcels of real estate

located in Jackson County, Michigan, apparently free and clear. Because of unpaid real estate

taxes, Jackson County Treasurer Karen Coffman (“the Treasurer”) filed a foreclosure complaint

in the Jackson County Circuit Court (“the State Court”) in early February 2013. RL did not
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respond to the complaint and on February 20, 2013, the State Court entered judgment in favor of

the Treasurer.1 On April 25, 2013, the Treasurer recorded its interest. The Treasurer has

apparently not yet auctioned the properties. On June 12, 2013, RL filed a voluntary Chapter 11

petition indicating a property tax debt to the Treasurer of $10,819.00.2 RL’s bankruptcy was

dismissed on July 1, 2013 for failure to file certain documents, apparently as the result of a

clerical error, and was reinstated on July 19, 2013.

        RL now brings this adversary proceeding under 11 U.S.C. § 547(b) to avoid the

Treasurer’s foreclosure of the properties as a preferential transfer. This provision states:

        (b) Except as provided in subsections (c) and (i) of this section, the trustee may
        avoid any transfer of an interest of the debtor in property--
            (1) to or for the benefit of a creditor;
            (2) for or on account of an antecedent debt owed by the debtor before such
            transfer was made;
            (3) made while the debtor was insolvent;
            (4) made--
                 (A) on or within 90 days before the date of the filing of the petition; or
                 (B) between ninety days and one year before the date of the filing of the
                 petition, if such creditor at the time of such transfer was an insider; and
            (5) that enables such creditor to receive more than such creditor would receive
            if--
                 (A) the case were a case under chapter 7 of this title;
                 (B) the transfer had not been made; and
                 (C) such creditor received payment of such debt to the extent provided by
                 the provisions of this title.

Simply stated, RL argues that the Treasurer was a creditor who used the foreclosure proceeding

to obtain the three properties, which are worth significantly more than the Treasurer was owed or

what the Treasurer would have received in a Chapter 7 liquidation.

                                                            
1
   The State Court complaint, judgment, and docket are not part of the present record but the referenced-to
dates are not contested.
2
 RL has few other debts. It scheduled a separate debt of $23,959 fully secured by unrelated real estate
and an unliquidated, disputed, and unsecured debt stemming from an alleged personal injury.

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                                SUMMARY JUDGMENT STANDARD
       Fed.R.Civ.P. 56 provides the statutory basis for summary judgment, and is made

applicable to adversary proceedings via Fed.R.Bankr.P. 7056.             “Summary judgment is

appropriate only when there is no genuine issue of material fact and the moving party is entitled

to judgment as a matter of law.” Kalamazoo River Study Group v. Rockwell Intern. Corp., 171

F.3d 1065, 1068 (6th Cir. 1999) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986)).

“The initial burden is on the moving party to demonstrate that an essential element of the non-

moving party’s case is lacking.” Id. “[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary

judgment; the requirement is that there be no genuine issue of material fact.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis original). “There is no genuine

issue of material fact when ‘the record taken as a whole could not lead a rational trier of fact to

find for the non-moving party.’” Williams v. Leatherwood, 258 Fed. Appx. 817, 820 (6th Cir.

2007) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).


                                           DISCUSSION
       I. Whether the Transfer in Question Took Place Within 90 Days of the Petition Date

The state statute governing foreclosure by the Treasurer provides in relevant part:

       The circuit court shall enter final judgment on a petition for foreclosure filed
       under section 78h at any time after the hearing under this section but not later than
       the March 30 immediately succeeding the hearing with the judgment effective on
       the March 31 immediately succeeding the hearing for uncontested cases or 10
       days after the conclusion of the hearing for contested cases. All redemption rights
       to the property expire on the March 31 immediately succeeding the entry of a
       judgment foreclosing the property under this section, or in a contested case 21
       days after the entry of a judgment foreclosing the property under this section. The
       circuit court’s judgment shall specify all of the following:



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       (a) The legal description and, if known, the street address of the property
           foreclosed and the forfeited unpaid delinquent taxes, interest, penalties, and
           fees due on each parcel of property.

       (b) That fee simple title to property foreclosed by the judgment will vest
           absolutely in the foreclosing governmental unit, except as otherwise provided
           in subdivisions (c) and (e), without any further rights of redemption, if all
           forfeited delinquent taxes, interest, penalties, and fees are not paid on or
           before the March 31 immediately succeeding the entry of a judgment
           foreclosing the property under this section, or in a contested case within 21
           days of the entry of a judgment foreclosing the property under this section.

Mich. Comp. Laws § 211.78k(5) (emphasis added). The proceedings in this case and their

operative results under the applicable statute, read in light of that statute’s plain language, can be

summarized as follows:

   1. Commencement of tax foreclosure proceeding in State Court: early February 2013
   2. Uncontested State Court hearing held and judgment of foreclosure entered: February 20,
      2013
   3. Effective date of said judgment: March 31, 2013
   4. Expiration of RL’s right of redemption: March 31, 2013
   5. Vesting of the Treasurer’s fee simple title to the foreclosed properties: March 31, 2013

       The Treasurer initially contends that the “transfer” in question did not take place within

the 90 day period required by § 547(b)(4)(A), arguing that the clock began running on February

20, 2013, the date of the State Court’s judgment of foreclosure. RL argues that the pertinent date

should be March 31, 2013, the date that its right of redemption expired by operation of law, or

alternatively, April 25, 2013, the date the Treasurer recorded its interest. “Transfer” is defined

by § 101(54) to mean:

       (a) the creation of a lien;
       (b) the retention of title as a security interest;
       (c) the foreclosure of a debtor’s equity of redemption; or
       (d) each mode, direct or indirect, absolute or conditional, voluntary or
       involuntary, of disposing of or parting with--
                (i) property; or
                (ii) an interest in property.


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For the purposes of this matter, the Court concludes that the March 31, 2013 date is the correct

date of the subject transfer, i.e. the date when RL’s redemption rights and title were extinguished

and, coincidentally, when the Treasurer obtained fee simple title by operation of law. The Court

is not persuaded by the Treasurer’s argument that the dismissal and subsequent reinstatement of

RL’s bankruptcy had any effect on the 90 day requirement. The Treasurer viewing the July 19,

2013 date of reinstatement as the pertinent date (as opposed to the June 12, 2013 original date of

filing) is inappropriate because § 547(b)(4)(A) states the transfer must be made “on or within 90

days before the date of the filing of the petition” (emphasis added). Thus, the subject transfer

took place within the 90 day period before RL’s bankruptcy filing.


                    II. Whether RL has Complied with the Pleading Requirements

       Although this motion is styled as a motion for summary judgment, the Treasurer argues

that it is entitled to “dismissal” of this adversary proceeding and frames this as an argument

regarding RL’s insufficient pleading, citing Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell

Atlantic Corp. v. Twombly, 550 U.S. 544 (2007). Those cases hold that in order to survive a

motion to dismiss under Fed.R.Civ.P. 12(b)(6), not a motion for summary judgment, “a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). The

Treasurer’s motion confuses the motion to dismiss standard and the summary judgment analysis.

The Treasurer first argues that RL’s complaint fails to meet this pleading requirement because its

complaint is a formulaic recitation of § 547(b). Specifically, the Treasurer points to the fact that

paragraph 11 of the complaint states:

       Plaintiff is informed and believes and, on that basis alleges thereon, that the Pre-
       Petition Transfers enabled the Defendant to receive more than the Defendant

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       would have received if (a) the Debtor’s bankruptcy case were a case under
       chapter 7 of title 11 of the United States Code; (b) the respective transfers had not
       been made; and (c) the Defendant received payment of such debt to the extent
       provided by title 11 of the United States Code.

The Court reads this argument to be more appropriately based on a Fed.R.Civ.P. 12(b)(6) motion

to dismiss and will analyze it by that standard. The distinction does not affect the outcome.

       The mere fact that the above-quoted count paraphrases the statutory language of § 547(b)

is not itself grounds for dismissal. Although the complaint itself does not have specific dollar

figures to support the assertion that the Treasurer received more than it would have received in a

Chapter 7 liquidation, RL’s bankruptcy petition indicates that it owed the Treasurer $10,819.00

and RL’s response to the Treasurer’s motion includes documentation indicating that the

combined assessed value of the three properties was $44,550. The record is thus clear that RL

states a plausible argument that the over-secured Treasurer, by obtaining title to the subject

properties, received more than it would have in a Chapter 7 liquidation. The Court is not

persuaded by the Treasurer’s references to In re Crescent Resources, LLC, 2012 WL 195528

(Bankr. W.D. Tex. 2012) (finding the complaint deficient because it failed to describe the

relationship between the debtor-transferor and the transferee, which is necessary to establish that

the transfer related to an antecedent debt). RL’s complaint, read in the appropriate light and with

reasonable inferences, is in conformity with the above-noted pleading standard and survives a

motion to dismiss.


            III.     Whether the Subject Tax Foreclosure Can be Avoided as a Preference

       The Treasurer also argues that it is entitled to “dismissal” because applicable substantive

law precludes the avoidance of a valid tax foreclosure such as this. It argues that, even if RL was

allowed to amend its complaint, its case would be futile as a matter of law. Although the

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Treasurer’s position is again framed as a motion to dismiss, the Court finds it more properly

analyzed under the summary judgment standard. The distinction does not affect the outcome.

          RL brings this avoidance action essentially on the basis that the Treasurer received a

windfall by foreclosing on properties worth significantly more than the property tax debts

thereon. RL asserts that such a windfall would frustrate its attempt to reorganize and would

result in an inequitable treatment of creditors.3 The Treasurer argues that the foreclosure transfer

cannot be avoided in light of BFP v. Resolution Trust Corp., 511 U.S. 531, 114 S. Ct. 1757

(1994). That case did not deal with a § 547 preference action. Rather, it dealt with a § 548

fraudulent transfer action.4 The Supreme Court there held that “reasonably equivalent value,” as

stated in § 548, is conclusively established by a valid mortgage foreclosure sale that complies

with applicable state law requirements. In so holding, the Court refused to define “reasonably

                                                            
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   After this Court took this matter under advisement, RL proposed a Chapter 11 plan that contemplates
recovery of the three subject properties and a reorganization involving rental income derived from said
properties.
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    Section 548, as worded when BFP was decided, stated:

          (a) The trustee may avoid any transfer of an interest of the debtor in property, or any
          obligation incurred by the debtor, that was made or incurred on or within one year before
          the date of the filing of the petition, if the debtor voluntarily or involuntarily—

          (1) made such transfer or incurred such obligation with actual intent to hinder, delay, or
          defraud any entity to which the debtor was or became, on or after the date that such
          transfer was made or such obligation was incurred, indebted; or

          (2)(A) received less than a reasonably equivalent value in exchange for such transfer or
          obligation; and

          (B)(i) was insolvent on the date that such transfer was made or such obligation was
          incurred, or became insolvent as a result of such transfer or obligation....

BFP, 511 U.S. at 535 n.2.




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equivalent value” as fair market value or reasonable forced-sale price. Id. at 547. BFP can be

differentiated because § 547 does not contain the requirement “less than a reasonably equivalent

value,” but rather only focuses on whether the creditor received “more” than it would have under

a Chapter 7 liquidation. The BFP Court did specifically say “We emphasize that our opinion

today covers only mortgage foreclosures of real estate. The considerations bearing upon other

foreclosures and forced sales (to satisfy tax liens, for example) may be different.” Id. at 537 n. 3.

Thus, the BFP Court was being careful not to extend its holding there to different issues and

statutory provisions not before it and what may or may not be other considerations in cases

involving foreclosures of tax liens, such as this. Arguably, the language “more than such

creditor would receive if the case were a case under chapter 7” contained in § 547(b)(5) may

well be seen as more favorable to RL’s position here, but only if that literal wording was the only

and abiding determinant of the issue. In deciding BFP, the Supreme Court also stated:

       It is beyond question that an essential state interest is at issue here: We have said
       that “the general welfare of society is involved in the security of the titles to real
       estate” and the power to ensure that security “inheres in the very nature of [state]
       government.” American Land Co. v. Zeiss, 219 U.S. 47, 60, 31 S.Ct. 200, 204, 55
       L.Ed. 82 (1911). Nor is there any doubt that the interpretation urged by petitioner
       would have a profound effect upon that interest: The title of every piece of realty
       purchased at foreclosure would be under a federally created cloud.

Id. at 544 (bracketed text in original).

       Bankruptcy courts have split as to whether § 547 can be used to avoid a prepetition

mortgage foreclosure as a preferential transfer.       Several cases hold that such transfers are

avoidable: In re Andrews, 262 B.R. 299 (Bankr. M.D. Pa. 2001); In re Whittle Dev., Inc., 463

B.R. 796 (Bankr. N.D. Tex. 2011); In re Berley Assoc., Ltd., 492 B.R. 433 (Bankr. D.N.J. 2013);

In re Villarreal, 413 B.R. 633 (Bankr. S.D. Tex. 2009); In re Rambo, 297 B.R. 418 (Bankr. E.D.

Pa. 2003). Some of those courts distinguished BFP’s policy issues and focused on the plain

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language of § 547. Other courts have taken the opposite approach, finding BFP to be equally

applicable in the § 547 context and holding that such transfers are not avoidable: In re Pulcini,

261 B.R. 836 (Bankr. W.D. Pa. 2001); In re FIBSA Forwarding, Inc., 230 B.R. 334 (Bankr. S.D.

Tex. 1999) aff’d, 244 B.R. 94 (S.D. Tex. 1999); In re Cottrell, 213 B.R. 378 (Bankr. M.D. Ala.

1996).

         The Michigan General Property Tax Act, Mich. Comp. Laws § 211.1 et seq., “reflect[s] a

legislative effort to provide finality to foreclosure judgments and to quickly return property to the

tax rolls.” Barry County Treas. v. Klinge, 2013 WL 85902, *2 (Mich. App. 2013) (quoting In re

Treasurer of Wayne Co. for Foreclosure, 478 Mich. 1, 4 (2007)) appeal denied, 825 N.W.2d 586

(Mich. 2013). Michigan’s former real estate tax foreclosure scheme, originally enacted in 1893

and amended numerous times, was commented upon as follows:

         Michigan’s scheme for foreclosing real property tax liens is a particularly
         complex process that has resulted in unfortunate and unintended consequences.
         Because of the long period of time between the initial delinquency and the
         eventual foreclosure and resale of property, abandoned properties tend to
         deteriorate or be vandalized and become eyesores, if not outright hazards, to
         surrounding neighborhoods. In addition, increased due process requirements have
         made the process more complex, while decreasing the confidence that a purchaser
         may have in the quality of a title conveyed by a quit-claim deed given by the state
         of Michigan upon sale of tax-reverted parcels.

Kevin T. Smith, Foreclosure of Real Property Tax Liens, 75 Mich. B.J. 953 (Sept. 1996). In

1999, the Michigan Legislature almost entirely rewrote the law on tax foreclosures to remedy

these problems. AAA Invest v. Taylor, 2007 WL 1201884 (Mich. App. 2007); Kevin T. Smith,

An Update on Foreclosure of Real Property Tax Liens Under Michigan’s New Tax Foreclosure

Process, 36 Mich. Real Prop. Rev. 30 (2009). It did so based upon the following findings:

         The legislature finds that there exists in this state a continuing need to strengthen
         and revitalize the economy of this state and its municipalities by encouraging the
         efficient and expeditious return to productive use of property returned for

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       delinquent taxes. Therefore, the powers granted in this act relating to the return of
       property for delinquent taxes constitute the performance by this state or a political
       subdivision of this state of essential public purposes and functions.

Mich. Comp. Laws § 211.78(1). The Legislature empowered foreclosing government units to

take absolute title, notwithstanding any competing liens. Mich. Comp. Laws § 211.78k(5).

       This is a case involving a property tax lien foreclosure, not a mortgage foreclosure. If the

former may not, at least in some instances, be as ubiquitous as the latter, it is sufficiently

universal as to conclude there clearly is an “essential state interest” at issue here and one of

importance to the financial health and well-being of taxing government units and their citizens.

That state law interest, relative to the mortgage involved in BFP, is more encompassing and

replete with the ramifications to the security of real estate titles that so greatly concerned the

Supreme Court. In this Court’s opinion, the ramifications here are more fundamental and of

greater importance. The taxes involved are the lifeblood of government units and enable them to

carry out essential government functions for the benefit of their citizens. In the event of a tax

delinquency, these government units should be able to foreclose on the subject property and

promptly return it to the tax rolls without being subject to what the Supreme Court called “a

federally created cloud.” Were it otherwise, a government unit that is empowered by applicable

state law to foreclose on realty because of unpaid property taxes would be at risk of seeing the

delinquent taxpayer file bankruptcy and call the foreclosure judgment into question. The effect

of such would be to allow those properties to fall into disrepair and to impose on the government

unit a substantial period of uncertainty of title. Such complications and delays would result in

the exact problems that Michigan’s statutory foreclosure scheme sought to remedy. In this

Court’s view, this poses an undue and improper burden on governmental units and the essential

functions they conduct for the benefit of their citizens. The articulated state interest outweighs

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what might be a somewhat literal but inappropriate application of § 547, and should be seen as

an overarching policy consideration dictating the result in this situation.

        In BFP, The Supreme Court also specifically made clear that in order for federal statutes

to impinge upon important interests that are traditionally within state authority, such

displacement must result from a clear and manifest federal statutory purpose. BFP, 511 at 544.

This Court finds no such clear and manifest purpose for which federal bankruptcy law should be

construed or applied to interfere with property tax foreclosures, which are traditionally a state

matter, at least in the context of the type of proceeding involved in this case. Put differently, at

least in such a case as this, to hold otherwise would impermissibly expand the reach of

bankruptcy law at the expense of what this Court concludes are predominant state and local law

and interests. As noted, this Court would not be alone in doing so. See In re Pulcini, 261 B.R. at

844-45; In re FIBSA Forwarding, Inc., 230 B.R. at 341. Accordingly, the Treasurer’s motion for

summary judgment is granted and it should present an appropriate order under the applicable

local rule.




Signed on January 10, 2014
                                                  ____ __/s/ Walter Shapero_    ___
                                                     Walter Shapero
                                                     United States Bankruptcy Judge




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